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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO
                                    Magistrate Judge Craig B. Shaffer

   Civil Action No. 04-cv-02174-WYD-CBS

   ROCKY BALDOZIER;
   ERIC STACK;
   ROBERT REYNOLDS; and
   JOK NICHOLSON, on behalf of themselves and all other similarly situated,

           Plaintiffs,

   v.

   AMERICAN FAMILY MUTUAL INSURANCE COMPANY,

           Defendant.


                                              MINUTE ORDER


   ORDER ENTERED BY MAGISTRATE JUDGE CRAIG B. SHAFFER

          Upon consideration of the Notice of Ruling by the Judicial Panel on Multidistrict Litigation filed on
   February 21, 2006, it is hereby

           ORDERED that Plaintiffs’Motion to Bifurcate Trial and Discovery (filed February 8, 2006; doc.
   no. 179) is DENIED, at this time, as premature.

   DATED:           February 24, 2006
